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Q FOR THE NORTHERN DISTRICT OF TEXAS FIL FP 7 TEXAS

 

   

 
    

WICHITA FALLS DIVISION
UNITED STATES OF AMERICA
CLERRU BS pjersisaes
v. No. By DISTRICT COurr
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RICKY DALE HOWARD (01) Y= 24 C _
INDICTMENT
The Grand Jury Charges:

Count One
Sexual Exploitation of a Child
(Violation of 18 U.S.C. §§ 2251{a) and (e))

Between on or about July 30, 2010, and on or about March 15, 2012, in the
Wichita Falls Division of the Northern District of Texas, defendant Ricky Dale Howard
did employ, use, persuade, induce, entice and coerce a minor, MV1, to engage in sexually
explicit conduct for the purpose of producing any visual depiction of such conduct, and
the visual depiction was produced using materials that had been mailed, shipped, and
transported in and affecting interstate and foreign commerce by any means, including by

computer and the visual depiction was actually transported using any means and facility

of interstate and foreign commerce and mailed.

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Specifically, Howard used an Acer laptop computer, serial number

LXPWJ020010171DE3B1601, to produce the following visual depiction of a minor

engaged in sexually explicit conduct:

 

File Name

Description of File

 

Carved [23962575] .jpeg

MV1 is lying on his back, nude, with his genitals
exposed in a lewd and lascivious manner. Ricky
Howard’s hand is on MV1’s erect penis.

 

Carved [13958737].jpeg

 

 

MV1 is lying on his back, nude, with his genitals
exposed in a lewd and lascivious manner while
Ricky Howard bends over towards MV1’s erect
penis.

 

In violation of 18 U.S.C. §§ 225 1(a) and (e).

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Count Two
Receipt of Child Pornography
(Violation of 18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1))

On or about March 2, 2012, in the Wichita Falls Division of the Northern District
of Texas, defendant Ricky Dale Howard did knowingly receive an item of child
pornography using any means and facility of interstate and foreign commerce that had
been shipped and transported in and affecting interstate and foreign commerce by any
means, including by computer.

Specifically, Howard used the Internet and an Acer laptop computer, serial

number LXPWJ020010171DE3B1601, to receive the following described file depicting

child pornography, as defined in 18 U.S.C. § 2256(8)(A):

 

File Description of the image

 

Carved [20070985 ].jpeg This file depicts a minor male nude from the waist
down with his genitals displayed in a lewd and
lascivious manner.

 

Carved [12063928].jpeg This image depicts two prepubescent males,
completely nude, with their hands touching the
other male’s penis, in a lewd and lascivious
manner.

 

 

 

 

In violation of 18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1).

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Count Three
Possession of Child Pornography
(Violation of 18 U.S.C. § 2252A(a)(5)(B) and (b)(2))

On or about September 1, 2015, in the Wichita Falls Division of the Northern
District of Texas, defendant Ricky Dale Howard, did knowingly possess any material
that contained an image of child pornography that had been mailed, shipped, and
transported in and affecting interstate and foreign commerce by any means, including by
computer and that was produced using materials that have been mailed, shipped and
transported in and affecting interstate and foreign commerce by any means, including by
computer, Specifically, Howard, possessed an Acer laptop computer, serial number
LXPWJ020010171DE3B1601, containing the following described files of minors, to

include visual depictions of a prepubescent minor, engaged in sexually explicit conduct,

_ as defined in 18 U.S.C. § 2256(8)(A):

 

File Designation Description of File

 

Carved [20015856] jpeg This image depicts an adult male with his mouth on
the penis of a prepubescent male who is displaying
his middle finger at the camera.

 

Carved [13171558].jpeg This image depicts an adult male with his mouth on
the penis of a prepubescent male.

 

 

 

 

In violation of 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2).

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Count Four
Accessing Child Pornography
(Violation of 18 U.S.C. § 2252A(a)(5)(B) and (b)(2))

On or about July 19, 2013, in the Wichita Falls Division of the Northern District
of Texas, defendant Ricky Dale Howard did knowingly access with intent to view an
item that contained an image of child pornography that has been mailed, shipped and
transported using any means and facility of interstate and foreign commerce, including by
computer.

Specifically, Howard used the Internet and a Western Digital hard drive, serial
number WCASY7950929, to access with intent to view the following described files of
minors, to include visual depictions of a prepubescent minor, engaged in sexually explicit

conduct, as defined in 18 U.S.C. § 2256(8)(A):

 

File Designation Description of File

103f7d2036[redacted].jpg This file depicts a prepubescent male lying back
while a second prepubescent male has his mouth on
the penis of the prepubescent male lying back.

 

 

31fldat604[fredacted].jpg This file depicts a prepubescent male’s penis in the
hand of another person, and the prepubescent male’s
penis is displayed in a lewd and lascivious manner.

 

 

 

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~ In violation of 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2).

A TRUE BILL.

ACD
FOREPERSON@—

PRERAK SHAH
ACTING UNITED STATES ATTORNEY

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
WICHITA FALLS DIVISION

 

THE UNITED STATES OF AMERICA
V.

RICKY DALE HOWARD (01)

 

INDICTMENT

18 U.S.C. §§ 225 1a) and (e)
Sexual Exploitation of a Child
Count 1

18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1)
Receipt of Child Pornography
Count 2

18 U.S.C. § 2252A(a)(5)(B) and (b)(2)
Possession of Child Pornography
Count 3

18 U.S.C. § 2252A(a)(5)(B) and (b)(2)
Accessing Child Pornography
Count 4

 

A true bill rendered

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FORT WORTH FOREPERSON
Filed in open court this 12th day of May, 2021.

 

 

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UNIT TATES MAGISTRATE JUDGE
Magistrate Court Number: 7:21-MJ-008

 

 
